8:12-cr-00107-LSC-TDT      Doc # 166    Filed: 10/09/13     Page 1 of 1 - Page ID # 458




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                   Plaintiff,                                 8:12CR107
      vs.
                                                          AMENDED ORDER
TABATHA N. ASHBURN,
                   Defendant.

      This matter is before the court on the defendant’s Motion for Noncustodial
Transportation and Per Diem Expenses wherein the defendant seeks an Order
authorizing noncustodial transportation of the defendant by the Unites States Marshal
and a subsistence allowance. See Filing No. 163. The court, having been fully advised
in the premises finds that the defendant’s Motion as it relates to noncustodial
transportation should be granted. Accordingly,


      IT IS ORDERED that pursuant to 18 U.S.C. § 4285 and in the exercise of the
court’s discretion under the circumstances of this case that the United States Marshal
provide noncustodial transportation for the defendant from Omaha, Nebraska, to
Honolulu, Hawaii, forthwith. The part of the defendant’s Motion for subsistence is
denied.


      Dated this 9th day of October, 2013.

                                                 BY THE COURT:

                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
